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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                   No. 4:14CR00010-05 JLH

ROBERT YOUNG, JR.                                                                 DEFENDANT

                                            ORDER

       Pending before the Court is defendant’s motion to continue hearing on appeal of the

magistrate’s detention order currently set for Thursday, May 15, 2014, at 1:30 p.m. The motion is

GRANTED. Document #198.

       The hearing on the motion for amendment to the order of detention is hereby rescheduled

for FRIDAY, MAY 16, 2014, at 9:30 A.M., in Courtroom #4-D, Richard Sheppard Arnold United

States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas. Document #196.

       IT IS SO ORDERED this 29th day of April, 2014.




                                            _________________________________
                                            J. LEON HOLMES
                                            UNITED STATES DISTRICT JUDGE
